      Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.1 Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

NICKOLAS A. WRONA,                              §
                                                §       Case No. 1:17-cv-178
         Plaintiff                              §
                                                §
-v-                                             §
                                                §       COMPLAINT
CAVALRY SPV I, LLC                              §       JURY TRIAL DEMANDED
                                                §
         Defendant.                             §

                                          INTRODUCTION

      1. Defendant Cavalry SPV I, LLC (“Defendant”) harassed Plaintiff for months with
         collection robocalls when they had no right to make these automated calls to Plaintiff’s
         cellular telephone, Plaintiff had never provided Defendant with his phone number, and
         Plaintiff repeatedly requested they cease calling him.

      2. Defendant persistently utilized an automatic telephone dialing system to automatically
         dial Plaintiff’s cellular telephone, which violated Plaintiff’s privacy rights under state and
         federal law.

      3. The Telephone Consumer Protection Act (“TCPA”) was enacted to prevent companies
         from invading American citizen’s privacy and to “protect individual consumers from
         receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., 132 S.Ct.
         740 (2012).

      4. According to the Federal Communications Commission (FCC), Únwanted calls and texts
         are the number one complaint to the FCC. The FCC received more than 215,000 TCPA
         complaints in 2014 alone. https://www.fcc.gov/document/fact-sheet-consumer-
         protection-proposal.

      5. Senator Hollings, the TCPA’s sponsor described these calls as “the scourge of modern
         civilization, they wake us up in the morning; they interrupt our dinner at night; they force
         the sick and elderly out of bed; they hound us until we want to rip the telephone out of
         the wall.” 137 Cong. Rec. 30, 821 (1991).

      6. Defendant has caused Plaintiff actual harm not only because Plaintiff was subjected to
         the aggravation and invasions of privacy that necessarily accompany these repeated
         robocalls, but also because these robocalls caused diminished battery life, wasted
         Plaintiff’s time, and otherwise interfered with his ability to make and receive phone calls
         on his cellular telephone.
Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.2 Page 2 of 8




                                   JURISDICTION

7. Jurisdiction of this Court arises under 28 U.S.C. § 1331, 47 U.S.C. § 227, and pursuant to
   28 U.S.C. § 1367 for pendent state law claims, which are predicated upon the same facts
   and circumstances that give rise to the federal causes of action.

8. This action arises out of the Defendant’s repeated violations of the Telephone Consumer
   Protection Act (“TCPA”) 47 U.S.C. § 227 et seq., the Fair Debt Collection Practices Act
   (“FDCPA”) 15 U.S.C. § 1692 et. seq., the Michigan Occupational Code M.C.L. §339.901
   et. seq. (“MOC”).

9. Venue is proper in this district because Defendant transacts business here and places
   phone calls into this district, and Plaintiff lives in this District.

                                       PARTIES

10. Plaintiff Nickolas A. Wrona (“Plaintiff”) is a natural person who resides in the City of
    Marne, County of Ottawa, State of Michigan. Plaintiff is a “consumer” and “person” as
    the terms are defined and used in the FDCPA and TCPA. Plaintiff is a “consumer,”
    “debtor” and “person” as the terms are defined and used in the MOC.

11. Defendant is a corporation with its principal place of business at 500 Summit Lake Dr.,
    Ste. 400, Valhalla NY 10595 and conducting business through its registered agent The
    Corporation Company, 40600 Ann Arbor Rd. E. Ste. 201, Plymouth MI 48170.

12. Defendant uses interstate commerce and the mails in a business the principal purpose of
    which is the collection of debts. Defendant regularly attempts to collect, directly or
    indirectly, debts owed or due or asserted to be owed or due another.

13. Defendant is a “debt collector” as the term is defined and used in the FDCPA and the
    TCPA. Defendant does not maintain a valid license from the State of Michigan to collect
    consumer debts in Michigan though it is required to do so. Defendant is a “collection
    agency” and “licensee” as those terms are defined and used in the MOC.

14. At all relevant times to this complaint, Defendant has owned, operated, and or controlled
    “customer premises equipment” as defined by the TCPA 47 U.S.C. §153(14) that
    originated, routed, and/or terminated telecommunications.

15. At all relevant times to this complaint, Defendant engaged in “telecommunications” as
    defined in the TCPA 47 U.S.C. §153(43).

16. At all relevant times to this complaint, Defendant engaged in “Interstate
    communications” as defined by TCPA 47 U.S.C. §153(22).
Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.3 Page 3 of 8



17. At all relevant times to this complaint, Defendant has used, controlled, and/or operated
    “wire communications” as defined by the TCPA 47 U.S.C. §153(52), that existed as
    instrumentalities of interstate and intrastate commerce.

18. At all relevant times to this complaint, Defendant has used, controlled, and/or operated
    “automatic dialing systems” as defined by the TCPA 47 U.S.C. §227(a)(1) and 47 C.F.R.
    64.1200(f)(1).

                              FACTUAL ALLEGATIONS

19. On or around April of 2016, and within one year immediately preceding the filing of this
    complaint, Defendant attempted to collect from Plaintiff a financial obligation that was
    primarily for personal, family or household purposes and is therefore a “debt” as that
    term is defined by 15 U.S.C. § 1692a(5), namely, a credit card debt.

20. On or around April of 2016, and within one year immediately preceding the filing of this
    complaint, Defendant repeatedly and willfully placed calls to Plaintiff’s personal cellular
    telephone number in an effort to collect this debt, which were “communication[s]” in an
    attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

21. Without Plaintiff’s prior express consent, Defendant repeatedly used an automatic
    telephone dialing system to call Plaintiff’s cellular telephone in an attempt to collect this
    debt at least seventy-five (75) times.

22. Plaintiff informed Defendant multiple times that he did not want to receive any further
    phone calls from them. The incessant collection calls disturbed Plaintiff’s privacy, peace
    of mind, and caused him great consternation.

23. These calls were not made for emergency purposes.

24. Defendant placed these calls repeatedly and continuously, often multiple times per day.

25. When Plaintiff answered the phone he was met by a long period of silence or “dead air”
    before any representative came on the line.

26. Dead air calls are the hallmark of calls placed using automated or predictive dialers.

27. Despite repeatedly asking Defendant to stop calling him, Plaintiff continued to receive
    phone calls and eventually stopped answering Defendant’s calls.

28. Because Defendant was unable to speak with Plaintiff, Defendant placed calls to
    Plaintiff’s parents.

29. In conversations with the Plaintiff’s parents, Defendant informed them that Plaintiff owed
    a debt that had not been paid.
Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.4 Page 4 of 8



30. Plaintiff’s parents then contacted Plaintiff to notify him that debt collectors were
    contacting them.

31. This greatly embarrassed Plaintiff, and he then contacted Defendant and explicitly
    repeated that he did not want to receive any more calls from Defendant, and that he did
    not permit them to speak with his parents or any other third parties regarding the debt.

                          Count I – Telephone Consumer Protection Act

32. All calls and messages were sent in willful violation of the TCPA because Defendant
    never obtained Plaintiff’s prior express consent to make automated calls to his cell phone
    or to send him prerecorded and/or synthesized messages on his cell phone.

33. Any consent that Defendant may have believed they had was revoked by Plaintiff’s
    repeatedly telling Defendant that he did not want to receive any further calls.

34. Defendant’s repeated autodialed collection calls to Plaintiff’s cellular telephone within the
    last four years prior to filing this complaint were illegal third-party attempts to collect this
    debt in violation of the TCPA, 47 U.S.C. § 227 et seq.

35. The Defendant’s persistent autodialed calls eliminated the Plaintiff’s right to be left
    alone, disrupted Plaintiff’s sleep, and eliminated the peace and solitude that the Plaintiff
    would have otherwise had.

36. Defendant’s actions constituted the unauthorized use of, and interference with the
    Plaintiff’s cellular telephone service for which the Plaintiff paid money.

37. Defendant’s actions were intentional and knowing.

                             Count II – Violation of 15 U.S.C. § 1692b

38. A debt collector may not communicate in connection with the collection of a debt with
    any person other than the consumer except to acquire “location information” about the
    consumer. 15 U.S.C. §1692b.

39. The FDCPA defines “location information” to mean “a consumer’s place of abode and
    his telephone number at such place, or his place of employment.” 15 U.S.C. §1692a(7).

40. A debt collector when communicating with any person other than the consumer for the
    purpose of acquiring location information about the consumer shall not state that such
    consumer owes any debt. 15 U.S.C. §1692b(2).

41. At the time Defendant began to collect the debt they knew Plaintiff’s address and his
    telephone number as evidenced by multiple calls made to Plaintiff’s cell phone, and
    several collection notices that Defendant mailed to Plaintiff’s residence.
Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.5 Page 5 of 8



42. Defendant did not have a valid reason to contact Plaintiff’s parents and any calls made to
    them were violations of 15 U.S.C. §1692b.

43. Defendant’s disclosure to Plaintiff’s parents that he owed a debt is a violation of 15
    U.S.C. §1692b(2).

                           Count III – Violation of 15 U.S.C. § 1692c

44. Pursuant to 15 U.S.C. §1692c(b), a debt collector may not communicate with anyone
    other than the consumer, his attorney, a consumer reporting agency if otherwise permitted
    by law, the creditor, the attorney of the creditor, or the attorney of the debt collector
    unless the consumer has given express prior consent directly to the debt collector.

45. Defendant did not obtain the prior consent of Plaintiff to communicate with his parents.

46. Defendant did not obtain the prior consent of Plaintiff to communicate to his parents that
    Plaintiff owed a debt.

47. Defendant violated 15 U.S.C. §1692c(b) by placing calls to Plaintiff’s parents without
    express prior consent.

              Count IV – Violation of 15 U.S.C. § 1692d and MCL § 339.915(n)

48. Pursuant to 15 U.S.C. §1692d, a debt collector may not engage in any conduct the natural
    consequence of which is to harass, oppress, or abuse any person in connection with the
    collection of a debt.

49. Defendant had no valid reason to contact Plaintiff’s parents as they knew or should have
    known he did not reside with them.

50. Defendant’s intention when contacting Plaintiff’s parents was to cause him
    embarrassment and humiliation in violation of 15 U.S.C. §1692d.

51. Pursuant to 15 U.S.C. §1692d(5), a debt collector may not cause a telephone to ring
    repeatedly or continuously with intent to annoy, abuse, or harass any person at the called
    number.

52. MCL § 339.915(n) prohibits licensees from Using a harassing, oppressive, or abusive
    method to collect a debt, including causing a telephone to ring or engaging a person in
    telephone conversation repeatedly, continuously, or at unusual times or places which are
    known to be inconvenient to the debtor.

53. Approximately seventy (70) of Defendant’s calls to Plaintiff were either ignored by
    Plaintiff or sent to voicemail.
   Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.6 Page 6 of 8



   54. Plaintiff’s statements to Defendant that he did not wish to receive calls provided them
       with notice that he found the calls annoying and harassing.

   55. Defendant intentionally continued to contact Plaintiff with the intent of annoying him
       enough that they could extract payment from him in violation of 15 U.S.C. §1692d(5)
       and MCL § 339.915(n).

                          Count V – Violation of MCL § 339.915(q)

   56. Pursuant to MCL § 339.915(q) a licensee may not fail to implement a procedure designed
       to prevent a violation by an employee.

   57. Defendant’s multiple violations of the MOC, FDCPA, and TCPA are evidence that there
       were no procedures implemented by Defendant that would have prevented a violation by
       employees.

                                      TRIAL BY JURY

   58. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues so
       triable. US Const. amend. 7. Fed.R.Civ.P. 38.


                                  PRAYER FOR RELIEF


Telephone Collection Practices Act

   59. Defendant has violated 47 U.S.C. §227(b)(1)(A)(iii) and 47 C.F.R. §64.1200 (a)(1)(iii) by
       using an automatic dialing system to make numerous calls to the cellular telephones of
       Plaintiff without consent.

   60. Defendant’s actions alleged herein constitute numerous negligent violations of the TCPA,
       entitling Plaintiff to an award of $500.00 in statutory damages for each and every
       violation pursuant to 47 U.S.C. §227(b)(3)(B).

   61. Defendant’s actions alleged herein constitute numerous knowing and/or willful violations
       of the TCPA, entitling Plaintiff to an award of $1,500.00 in statutory damages for each
       and every violation pursuant to 47 U.S.C. §§227(b)(3)(B) and 227(b)(3)(C).

      Wherefore, Plaintiff seeks judgment against Defendant for:

              a) Statutory damages of $500.00 per call pursuant to 47 U.S.C. §227(b)(3)(B);

              b) Treble damages of $1,500.00 per call pursuant to 47 U.S.C. §§227(b)(3)(B)
                 and 227(b)(3)(C);
   Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.7 Page 7 of 8



             c) An injunction prohibiting Defendant from contacting Plaintiff on his cellular
                phone using an automated dialing system pursuant to 47 U.S.C.
                §§227(b)(3)(a).

Fair Debt Collection Practices Act

   62. Defendant has violated the FDCPA. Defendant’s violations of the FDCPA include but are
       not limited to the following:

             a. Defendant violated 15 U.S.C. §1692b;

             b. Defendant violated 15 U.S.C. §1692c;

             c. Defendant violated 15 U.S.C. §1692d.

      Wherefore, Plaintiff seeks judgment against defendant for:

          a) Actual damages pursuant to 15 U.S.C. §1692k(a)(1);

          b) Statutory damages pursuant to 15 U.S.C. §1692l(a)(2)(A);

          c) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k(a)(3); and

          d) Such further relief as the court deems just and equitable.

Michigan Occupational Code

      63. Defendant has violated the MOC. Defendant’s violations of the MOC include, but are
          not limited to the following:

             a. Defendant violated M.C.L. §339.915(n) by using a harassing, oppressive, or
                abusive method to collect a debt;

             b. Defendant violated M.C.L. §339.915(q) by failing to implement a procedure
                designed to prevent a violation by an employee; and

      Wherefore, Plaintiff seeks judgment against defendant for:

             a) Actual damages pursuant to M.C.L. §339.916(2);

             b) Treble the actual damages pursuant to M.C.L. §339.916(2);

             c) Statutory damages pursuant to M.C.L. §339.916(2);

             d) Reasonable attorney’s fees and court costs pursuant to M.C.L. §339.916(2);
                and
Case 1:17-cv-00178-JTN-ESC ECF No. 1 filed 02/23/17 PageID.8 Page 8 of 8




         e) Equitable relief pursuant to M.C.L. §339.916(2).


      Dated: February 23, 2017              Respectfully submitted:

                                            __/s/____________________________
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